Case 1:08-cv-00235-LK Document 1-2 Filed 05/21/08 Page 1 of 3 Page|D #: 7
please complete fror. and back of this form

 

 

 

 

 

 

 

 

' lNSTRUC‘¥'iGNS: Please read care!u||y the instructions on the reverse side and FORM APPRDVED
CLA!M FOR DAMAGE' supply information requested on both sides of the ferm. Usa additional sheetfs} il OMB NO.
lNJuRY' 08 DEATH necessary. See reverse side for additional instructiona. 3105-0008
1. Subm§t To Appropriate Federai Aganc\{: 2. Name. Address of claimant and cleimant‘s personal represen£etive. if any.
Depmem cf the A!_my {Sea instructions on reversal l‘Number, sl‘:’enea’l city, Stere end Zip Code)
zsmm(z)&UsARHAw samude Advoca¢¢ RS§§:I§Q§'GS'ZM§M h h ,MIII; RN§FS_;.‘~E§I_;,._.__._
ATTN: SchoHeld Barracks Area Claims Office 0 rayton qu 15 rec 1-¥_1 r
Bldg 2037 Marquei:ta Crayton-, 42? 3 E. Entarprlsa Blvd.
schonezd Bamcacs,aswaii 96357-6022 TAX ID #(f°fb“$ff=ess onlylvirqinia B@ach, vA 23453
3\ TYPE GF EMPLOYN|ENT 4. DA‘FE GF BER"E'H 5. MARl?A£. STATUS 6. DATE AND DAV OF ACClDENT 7. `!'|MZ iA.M. ar P’.M.i
m M;Ll'm;qy m c;v|L;AN 6/?/04 Sil’lgl€ Apf`il 19 , 2006 4 '.' 50 pm

 

 

 

 

8. Basis of Claim (Stare in detail the known facts end_circumstances attending the damage, injury,
involved, the piece of occurrence and the cause rhereof) (Use additional pages if necessary.)

Sea attached .

or daefh, identifying persons end property

 

 

9. ` PR€)PEHTY DAMAGE
NAME AND ADORESS DF_ OWNER, lF OTHER THAN CLA!MANT {Nurnber, stmt. city, State, end Z!]a Cada}

N/A

BRIEFLY D£SCR!BE THE PRGPERTY. NATURE AND EXT£N'F OF DAMAGE AND THE LOCAT|ON WHERE PROPEF¢:FY MAY BE INSPEC?ED. {SE\!
insrructlons on reverse slde.) " ` ` `

 

 

 

~ 10. ` PER$GNAL INJURYIWRONGFUL £}EATH . '
STATE NATURE AND EX'E'ENT GF EACH INJURY 08 CAUS€ OF DEATH, WH|CH FUHMS THE BAS!S OF THE CLA|M. IF QTHER THAN CLA|MANT_.
STATE NAME €}F lNJURED FERSON OR DECEDENT. .

'Savare_ and permanent injuries to saic} minor*a right leg, ankle and foot._

 

 

 

 

 

 

11. w:TNEssEs
NAME ' AE)DRESS iNumber. street, cfty, Stete, end Zr'p Codel

Marq§@tta Crayton 4313 E. Eni; use Blvcl., V:.rqlnla B@ac’h, VA bqu
Jona Jacquat-»former address 3428 Taylor 5 ,, Honolulu, HI 968?8 " - - _
Christine Dunnaway 3424 Taywr St., Honolulu, HI 968‘-£8 '
LindsaY'Lucero 4135 Rood Court{_ Honolulu, HI 9681_8 '

Officar D. Kem'., Badqe No.,2104 801 So. Berat;an:_La St:, _Hono_lulu, HI 968?3

@fficer L. _Akina, Badga No. 2934 801 So.'. Ber@tanla St, Honolulu, HI 968?3

12. (See instructions an reversal AMOUNT OF CLA£M (ln_§oilers} ` _

125. PRDPERTY DAMAGE ` 12b. P£RSONAL fNJUBY 123. WRONGFUL DEATH _ 12cf. ‘I’OTAL {Feilure to specify may cause

. ` ' forfeiture of your rights.)
N/A $5,000,000.00 N/A $S,OOO,`OOO-OO

 

 

 

 

l CERTIF¥ THAT '¥HE AMOUNT 0F CLA!M COVERS ONLY DAMAGES AND iNJUR|ES CAUSED BY THE ACCIDENT ABOVE AND AGREE “¥`O ACCEP'¥
SAID AMOUNT lN FULL SATlSFACTlDH AND FMAL SETFLEMENT OF '¥'HIS CLA|M.

 

 

 

 

132. SIGNATUHE OF CLA!MW j retract-egan reverse side.) _ ‘i-3b. P_hone number of signatory 14. DATE OF CLAIM
y {/` x _ l
~ _ W ¢:,,5/,7…/,/2
/}/¢7§\§ W% ' _ _ 7 7 5§` j;)zj 7@;;»
/§ clvlL PENALTV son nss£mma cmmma:. P£NALTY ron Pnr=s£m‘ms r=r{m{nuz.sm
FRAuouLEN claim cum on maine FALs£ summaries

The claimant shall forfeit and pay to the Un§ted States the sum of Flne of not more than $¥0.000 er imprisonmam for not more than 5 years
$2,000 plus double the amount of damages sustained by the United er igngh.__ (Sae__l£ U.S.C. 287, 1001.}
Staws. (SBB 31 U.S,C. 372.9.] va vv¢_e.:` .

amos , NSN 7540- l
Previous editions nor usebl'e. if

 

 

 

 

_ srANoAno F”“en"M 95 Hr`¢v. real f§b“)
_ mscme£o ev sept oF eusnc£
_;:"j:. § ' § 25 cFR 14.2

  

 

 

 

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FR}VACY AC`¥ NO`I|CE

Thla Notloe le provlded in accordance with the Prlvocy Act, 5 U.S.C. 552eloli3l,

end concerns the information requested in the letter lo wl\lch this Notlce ls attached C.

A. Authorlty: Tho requested information la sofi¢:i!ed pursuant to one or more of the D.

followicg: 5 U.S.C. 301. 38 U.S.C. 501 et eeq., 28 U.S.C. 2671 et seq.. 28 £‘F.R.

lNSTRUCTlONS
Complete all items - insert the word NON§ where applicable

A CLAlNl SHAL!. BE D£EMED TC\ HAVE BEEN PHESENTED WHEN A FEDEHAL
AGENCY FlECElVES FHOM A ELAlMANT, Hl$ DULY AUTHOR|ZED AG£NT, 09
LEGAL REPRESENTAY!VE AN EXECUTED STANDARD FOF\M 95 Oll O'l'l~lEFl
WR!TTEN NOTlFlCATlON OF AN lNClDENT, ACCOMPAN|ED BY A CLAlM FOR
MONEY DAMAGES lN A SUM ¢ERTNN FOFl |N.JURY TC OFl LOSS OF

Any instructlons or lnlormatloc necessary ln the preparation of your claim will be
lurnlsbed. upon reque¢t, by the cfllce indicated in item di on the reverse slde,
Compllte regulation pertaining to claims asserted under the F¢deral l'ort Claims
Act con do found |n Tlt|o 28, Codo of Fedorai Flogulationa, l’lrt 14. Many
agencies have pub|lshed supplemental regulations elso. lf more then one agency is
_lnvolved, please state each ogenoy. -

l`ho claim may be filed by o duly authorized agent or other legal rapresontatlve,
provided evidence satisfactory to the Govercrnent la submitted wlth laid claim
estebllsl~llog express authority to oct for the clelmont. A claim presented by rm
agent or legal representative must be presented ln the name of the claiment. lf the
claim le signed by the agent or legal raprem:rrtetl\rel lt must snow tha title or legal
capacity of the person signing and be accompanied by evidence of hlol`ller
authority to present a claim on behalf el the claimant ne agont, exocutor,
odrnlnlstrator, peront, guardian or other reproacntative.

if clolmenrt intends to l|ie claim lex both personal injury and property clemege,
claim for both must be shown in item lZ of thls lorm.

Tbo amount claimed should bn substantiated by competent evidence as follows

{e} ln support of the claim for personal injury or donth, the claimant should
submit a wrltten report by the attending physiclan, showing the nature end extent
of lniury, the nature end extent of trentmmt, the degree of permanent disebl|lty, il
ony, the prognozla. md the period cl oospitnlizetloo. or lncapacl!etien, attaching
itemized blll: for medlcel, bospltel, or burial expenses actually incurred

 

H. hinor§oal Purpose: `Fhe lolormotlcn requested ls to be used in evaluating ciaims.
Hourine U.re: Seo the Nollcoa of Systems ot Recorda for the agency to whom
you era submittan this form for this lnlornratlon.

Ef!ect of Feilure to Bespono'; Dieclosure la voluntery. Huwever, failure to supply
the mounted information or to execute the form may render your claim

PRCPERT\’, PER$ONAL lN..iURY, OFl DEA'FH ALL£GED TO HAVE OCCUHBED BY
REASON Ol= THE INClDENT. THE CLAlM MUST B£ PR£SENT£D TO Tl'l£
AFFROPRlATE FEDERAL AGENCY WlTl'llN TWO ¥EARS AFTEF¢ “l'HE Cl.AlM
ACCRUES. .

{b) in support of claims for damage to property which has been cr can be
economically repaired, the clalmont should submlt et least two ltomlzed signed
statements or estimates by relieble, dlalntorestod concemo, or, lt payment has bean
medo, the ltorolzad signed recolth evidencing peymont.

fci in luppon of claims for damage to property which ls not economically
ropeirable, or ll the property il lost or dootroyod. thc claimant should submit
statements as to the original cost of the property, too date ol' purcheso. end the
value of the property, both before end utter the accident Such statements should
bo by disinterested competent persono. preferably reputable dealers or officials
familiar with the type of property domegad, or by two or more competitive biddera,
end should be certified as being just and correct

{d) Feliuro to completely execute this form or to supply the requested material
wlthlr\ two yours from the date the allegations eccn.led may render your claim
"involld‘, A claim ls deemed presented when lt la received by the ooproprlote
egoncy, not when lt la molled.

Follun to lplcily l cum certain wm vault 111 kwo|d pr¢llnutlon al your clolrn and
may result ln forfeiture el your righto.

 

Poblic reporting burden for this oollactlon of interruption la estimated to average 15 minutes per rocponsa, including the time lot revlowlng |rmtruotlons, searching existing
data eourcos, gltlmriog end maintaining the data neadod. and ccmpletlng and reviewing the colloctlon of lofon'nntlon. Sond comments regardlng toll burden utlmoto or

`or\y other aspect ot thls collection of lnlormetlon, lnctudir\g suggestions for reducing thll burden,

\_° Director, Tort¢ Branch
Clvll Dlvle|on
U.S. Deparlm¢ot of Justlce
Wosltlngton, DC 20530

and to the

Otfice of Mcnngemont and Budget
Peporwork Reduotlon Fro§eot lt 105-0008]
Washlngton, DC 20503

 

lNSUHANCE COVERAGE

 

ln order met subrong c¢alml may be adjudicated it la essential met the olalment provide the lollowlng lnlorrnatlon regarding the lawrence coverage of his vehicle or property

 

15. Do you carry accident insurance? l_| Yos, |f yes, give name and address of insurance company erroo¢r, srmt. clry. Srm. s1de codd and policy number.w No

 

16. l-lave you filed claim on your insurance carrier in this instance end ll So. is lt full oovc¥eoe or dad*-l@!?bi!?

N/A

l?, ll daducllble, stole amount

N/A

 

 

18. ll claim has been filed with your cerrler, what ect|on has your mower token or proposes to take with reference to your clairol fir rs necessary mr you uc¢rr¢ln thus racial

N/A

 

19. Do you carry public liability end property damage lnsurance?l l vos. lf ye¢. give nom and address of insurance company rNumoer, arrm,_ ciry, Sm¢, end Zip social

E_]No

 

 

SF 95 l¥lev. 7»85l BACK

 

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Crayton v. Luccro, et ai.
CLAL\/l FOR DAMAG'E, INJURY, OR DEATH

8.

The milton Robcrt Crayton, was Strtlck by a vehicle being epsteth by LINDSAY C. E\/lv
LUCERO in the ;\/lnanalua Terrece Navy liensng eff cf Sait Leke Boulevard in
Ht)rtoiu§u, Hawa§`é on the above date This accident happened on Tayl<)r Street within the
Navy liensng al a time when Lucem was exceeding the posted Speed limit of 15 miles
per hour. Lucero and others driving through Taylor had been known to drive in excess cf
the posted Spccd limit in the past and a number Of` complaints had been made to the
company managing Moanaltla Terrace Nevy Housing, Fcrcst City Enierprises, about this
prior to the accident Requests Werc made that something be done, each as the
installation Of Speed bumps en 'l`ayior Street or Somc other appropriate traffic salmng
measure prior to the accident Nothing WaS done prior to the eubjeci accident If Speecl
bumps had been installed as requested, this accident Would not have happened As a
result of the foregoing the Federal Govemmcnt Was negligent in failing to timely respond
to the complaints made by residents of Mc)aneiua Terrace Navy Housing that action be
taken to reduce the excessive Speed of certain vehicles being operated there

 

